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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                          :
                                                   :
         v.                                        : MAGISTRATE NO. 21-MJ-195 (ZMF)
                                                   :
 ETHAN NORDEAN,                                    :
 Also known as “Rufio Panman,”                     :
                                                   :
                    Defendant.                     :

                              MOTION FOR TRANSPORT ORDER

       The United States of America, by and through the undersigned Assistant United States Attorney,

respectfully requests that this Court enter an Order directing the United States Marshals Service to

transport defendant Ethan Nordean from the Western District of Washington to the District of Columbia

for further proceedings on the Complaint filed against him, charging the defendant with Aiding and

Abetting an Injury or Depredation Against Government Property, in violation of 18 U.S.C. §§

1361 and 2; Obstructing or Impeding an Official Proceeding, in violation of 18 U.S.C. §

1512(c)(2); Knowingly Entering or Remaining in any Restricted Building or Grounds Without

Lawful Authority, in violation of 18 U.S.C. §§ 1752(a)(1), (a)(2); and Violent Entry and

Disorderly Conduct on Capitol Grounds, in violation of 18 U.S.C. §§ 5104(e)(2)(D), and

(e)(2)(G). In support of its motion, the United States states as follows:

         1. On February 3, 2021, the defendant Ethan Nordean, was arrested in his home state

               of Washington on an arrest warrant issued out of the United States District Court for

               the District of Columbia by Magistrate Judge Zia M. Faruqui in connection with a

               Criminal Complaint charging the defendant with the crimes outlined above.

         2. Defendant made his initial appearance on February 3, 2021 in front of a Magistrate

               Judge in the Western District of Washington. At his initial appearance, the
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   government made a motion to detain the defendant without bond pending trial

   pursuant to pursuant to 18 U.S.C. § 3142(f)(1)(A), because Defendant is charged

   with a crime of violence. The United States also sought detention pursuant to 18

   U.S.C. § 3142(e)(3)(C), which provides a rebuttable presumption of detention if

   there is probable cause to believe that the defendant committed “an offense listed in

   section 2332b(g)(5)(B) of title 18, United States Code, for which a maximum term

   of imprisonment of 10 years or more is prescribed.” The United States also sought

   detention pending trial pursuant to 18 U.S.C. § 3142(f)(2)(A), because Defendant

   poses a serious risk of flight. The magistrate judge set a detention hearing for

   February 8, 2021.

3. At the detention hearing on February 8, 2021, the magistrate judge ordered that

   Defendant be released with release conditions. An Assistant United States Attorney

   for the Western District of Washington orally moved to stay the defendant’s release

   pending an appeal by the government. The Magistrate Judge denied that request and

   ordered that if the United States has not filed an order to Stay and Transfer from this

   Court by 6pm Eastern Time today, Defendant will be released on his own

   recognizance.

4. The United States filed in this Court an Emergency Motion to Review the Court’s

   Release Order on February 8, 2021.

5. In order to have counsel appointed to represent Defendant in the District of

   Columbia, to resolve the pending motion to review the release determination made

   by the Magistrate Judge in the Western District of Washington, and to conduct

   further proceedings in this matter, Defendant, who remains temporarily detained,


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          needs to be transported to the District of Columbia by the United States Marshals

          Service.

       Accordingly, the United States moves this Court to issue an Order directing the United

States Marshals Service to transport defendant Ethan Nordean forthwith to the District of

Columbia for further proceedings.


                                              Respectfully submitted,
                                              MICHAEL R. SHERWIN
                                              Acting United States Attorney
                                              New York Bar No. 4444188


                                     By:         /s/ James B. Nelson
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